     Case 6:13-cr-10156-EFM   Document 146       Filed 11/25/14   Page 1 of 13




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.     13-10156-MLB
                                             )
JEREMY HARRIS,                               )
                                             )
                         Defendant.          )
                                             )

                               MEMORANDUM AND ORDER
         This case comes before the court on the following motions:
         1)   Defendant Jeremy Harris’ motion to dismiss (Doc. 78) and the
government’s response (Doc. 87); and
         2)   Defendant’s     motion    to   quash     the   warrant    and       suppress
evidence (Doc. 79) and the government’s response (Doc. 89).
I.       Facts
         Wichita   Police     Officer   Michael      Thode    submitted       a   42-page
affidavit to Magistrate Judge Karen Humphreys which detailed the
investigation of defendant Jeremy Harris and co-defendant Jason Giesy.
The affidavit contains specific information provided by various
individuals concerning defendant’s alleged drug trafficking.
         On May 8, 2012, Robert Cirkel was interviewed by the police.
Cirkel purchased twenty pound quantities of marijuana from defendant
every two weeks during eighteen months prior to the interview.
Circkel stated that defendant lived at 31st and Oliver.                  Circkel paid
for the marijuana at the Oliver residence but defendant stated that
did not keep marijuana at the residence.                Circkel informed officers
that defendant obtained 80 to 120 pounds of marijuana every two weeks.
  Case 6:13-cr-10156-EFM   Document 146   Filed 11/25/14   Page 2 of 13




        Prior to early June 2013, Co-defendant Evan Woolsey would
purchase (on a front) up to 100 pounds of marijuana from Jeremy
Harris, who would instruct him to pick up the marijuana from 3407 E.
Sunnybrook. Woolsey identified Giesy as the person who he encountered
when he picked up marijuana at the Sunnybrook residence.              At times,
Woolsey has picked up marijuana at the Oliver residence.                  Woolsey
would later pay Giesy or defendant at the Oliver residence.
        On April 4, 2013, officers stopped Joel Salas as he left 3407
E. Sunnybrook with approximately two pounds of marijuana.                  Salas
informed the officer that he intended to sell the marijuana.                At a
later date, Salas informed officers that Giesy kept marijuana in the
deep freezer in his kitchen.      Giesy also had surveillance cameras at
the residence.
        On April 17, defendant spoke to Christopher Harris while he was
detained in the Sedgwick County Jail.            Defendant stated that he
believed his residence in Plainview was under surveillance because
officers stopped Salas.     The Sunnybrook residence is in the Plainview
area.    The affiant believed that defendant was talking about the
Sunnybrook residence.      Woolsey told officers that defendant spent
money to move Giesy “out east” because the Sunnybrook residence was
being watched.
        On June 21, Woolsey agreed to participate in a controlled buy
from defendant at 3112 S. Oliver. Officers provided Woolsey with $100
and searched his person for narcotics.          Officers, however, did not
search Woolsey’s vehicle.       Woolsey was observed going inside the
Oliver residence and exiting a few minutes later.            Woolsey provided
officers with a white, powdery substance that tested positive for

                                    -2-
  Case 6:13-cr-10156-EFM    Document 146    Filed 11/25/14   Page 3 of 13




cocaine.     Woolsey was then searched a second time by officers for
contraband.
      On August 2, 2013, defendant was stopped after leaving 14372 SW
Butler Rd.     Tracy Freeman and Huciel Salas were also stopped after
leaving the Butler Road residence and officers seized approximately
thirty pounds of marijuana from their vehicle.               Freeman stated that
they were delivering the marijuana to defendant and Joshua Harris at
3129 Bunker Hill.          Freeman told officers that they would find
marijuana at the Butler Road residence.
      Officers then executed a search warrant at 14372 SW Butler Road,
Rose Hill, Kansas.      The officers found approximately 1000 pounds of
marijuana during the search.        Freeman also informed officers that
defendant is the head of a drug ring in Wichita, Kansas.                    Freeman
identified Giesy as a person who provides a stash house for defendant.
Freeman stated that the stash house was located in Augusta, Kansas,
at 9572 SW Eugene (Giesy’s residence), and was used to break down a
1000 pound load of marijuana in mid-July.
      Based on this information, affiant Thode requested permission
to search the Oliver residence and seize financial records, currency,
telephones, firearms, drugs and drug paraphernalia.                Affiant Thode
stated that he believed, based on the facts presented, that defendant
is the leader of a large marijuana distribution network in Wichita and
that the Oliver residence is used by co-conspirators to make payments
for drug debts and to store drugs. Additionally, affiant Thode sought
a “no-knock” entry because he believed that there was a clear risk of
encountering    armed   individuals    at    the    residence     based     on   his
experience that traffickers keep weapons in their property to protect

                                      -3-
  Case 6:13-cr-10156-EFM      Document 146       Filed 11/25/14   Page 4 of 13




the drugs and money.         (Affidavit ¶ 113).
          On August 14, 2013, Magistrate Judge Karen Humphreys issued a
search warrant for 3112 South Oliver in Wichita, Kansas.                   The warrant
authorized a “no-knock” search to be executed on or before August 23,
2013, in the daytime, between the hours of 6:00 a.m. and 10:00 p.m.
According to the return, the search warrant was executed on August 15,
2013 at 6:00 a.m.      The officers seized documents, cash, a cell phone,
a scale, a camera, TV monitors, a VCR, security cameras and a Mercedes
vehicle.
                                 The Indictment
          Defendant   and    co-defendant        Jason   Giesy    are   charged     in   a
superseding indictment with conspiracy to distribute marijuana (count
1),   possession      with   intent   to    distribute       marijuana     (count    2),
conspiracy to launder monetary instruments (count 3) and tampering
with a witness (count 4).        The superseding indictment also names two
additional co-defendants.         Co-defendant Amanda Harris is charged in
count 5 with tampering with a witness.1               The last co-defendant, Evan
Woolsey, is charged in count 6 with possession of a firearm during a
drug trafficking crime.        All co-defendants have entered guilty pleas
and been sentenced by the court.             Defendant’s case is set for trial
on December 2, 2014.
II.   Analysis
      A.      Motion to Quash the Search Warrant
      Defendant challenges the search warrant on the following grounds:


      1
        Defendant is charged with threatening officer Michael Thode
while Amanda Harris is charged with threatening Re’anne Giesy. (Doc.
47).

                                           -4-
     Case 6:13-cr-10156-EFM   Document 146    Filed 11/25/14   Page 5 of 13




1)    the    affidavit   contained   misrepresentations        and   intentionally
omitted information; 2) the affidavit lacked probable cause; 3) there
was no basis to issue a “no knock” warrant; and 4) the items seized
exceeded the scope of the warrant.
        1.    False Information
        Defendant seeks a Franks hearing on the basis that the affidavit
contained false statements and omitted material facts. The government
responds that defendant did not make a sufficient showing for a
hearing      under   Franks   v.   Delaware   because     he   failed    to   submit
affidavits establishing an omission or falsehood. (Doc. 89 at 12-13).
        The parties are well aware of the standards announced in Franks
v. Delaware, 438 U.S. 154, 171-2 (1978).
        “Under Franks, a hearing on the veracity of the affidavit
        supporting a warrant is required if the defendant makes a
        substantial showing that the affidavit contains intentional
        or reckless false statements and if the affidavit, purged
        of its falsities, would not be sufficient to support a
        finding of probable cause.”     (Citations omitted).   “The
        standards of deliberate falsehood and reckless disregard
        set forth in Franks apply to material omissions, as well as
        affirmative falsehoods.” (Citations omitted). If, after
        considering the evidence presented at a Franks hearing, the
        district court concludes by a preponderance of the evidence
        that the affidavit contains “intentional or reckless false
        statements,” (citations omitted), or “material omissions,”
        (citations omitted), “then the district court must suppress
        the evidence obtained pursuant to the warrant.” (Citations
        omitted). If, however, the district court concludes that
        the omitted information would not have altered the
        magistrate judge's decision to authorize the search, then
        the fruits of the challenged search need not be suppressed.
        (Citations omitted).
United States v. Avery, 295 F.3d 1158, 1166-67 (10th Cir. 2002).
Defendant must show that the affiant made intentional or reckless
omissions as opposed to omissions negligently made or by innocent
mistake.       United States v. Artez, 389 F.3d 1106, 1116 (10th Cir.


                                       -5-
  Case 6:13-cr-10156-EFM   Document 146   Filed 11/25/14   Page 6 of 13




2004).
     In order to be entitled to an evidentiary hearing under Franks
v. Delaware, “the defendant must allege deliberate falsehood or
reckless disregard for the truth, and those allegations must be
accompanied by an offer of proof.”        United States v. Artez, 389 F.3d
1106, 1116 (10th Cir. 2004) (citing Franks v. Delaware, 438 U.S. 154,
171 (1978)).   To support such allegations, a defendant should provide
affidavits of witnesses or satisfactorily explain their absence.              See
id. In addition, a defendant seeking an evidentiary hearing must show
that, after the challenged portions of the affidavit are stricken, the
remaining content of the affidavit is not sufficient to support a
finding of probable cause. See id.; United States v. Nelson, 450 F.3d
1201, 1213-14 (10th Cir. 2006).
     Defendant implies that the affidavit contained misrepresentations
because negative or impeachment material about both Circkel and
Woolsey was “hidden” in footnotes towards the end of the affidavit.
Defendant cites no support for his argument that the location of
impeachment    material    within    an    affidavit       can   constitute     a
misrepresentation.2
     Additionally, defendant states that the affiant failed to list
all items that were seized from Woolsey’s residence during a search.
The government responds that defendant has failed to provide the court
with an offer of proof concerning the search and that the omission of

     2
        Defendant also argues that there is some sort of
“misrepresentation” because the information concerning the controlled
buy was not contained in the probable cause affidavit. (Doc. 1).
Defendant’s argument is confusing, at best. There is no authority to
support the position that a probable cause affidavit and an affidavit
in support of a search warrant must contain the same allegations.

                                    -6-
  Case 6:13-cr-10156-EFM         Document 146       Filed 11/25/14    Page 7 of 13




those items was not material. The court agrees. There is no evidence
that        the   failure   to   list   all    items     seized      in   the   search   was
intentional on the part of the affiant.                      Moreover, the affidavit
disclosed Woolsey’s criminal activity and the fact that he is a drug
dealer and a user.          Therefore, the omission of the seized items was
not material because disclosure of additional drugs and a weapon would
not have had an impact on his credibility.3                       See United States v.
Sharbutt, 2005 WL 19492, *4 (10th Cir. Jan. 5, 2005)(“Knowing [the
informant] was already a felon and frequent drug user, it is unlikely
the magistrate judge would have found her possession of marijuana and
other drug paraphernalia, or the violation of her probation for drug
use, material to any reliability determination already made. Likewise,
her possession of firearms is also unlikely to materially change such
a determination.”)
        2.        Probable Cause
        The Fourth Amendment to the United States Constitution provides
that:
                  [t]he right of the people to be secure in their
                  persons, houses, papers, and effects, against
                  unreasonable searches and seizures, shall not be
                  violated, and no Warrants shall issue, but upon
                  probable cause, supported by Oath or affirmation,
                  and particularly describing the place to be
                  searched, and the persons or things to be seized.
U.S. Const. amend. IV.             The validity of a warrant is not determined


        3
       Defendant also comments about the legitimacy of the controlled
buy in a footnote. Defendant avers that Woolsey supplied the cocaine
in his car and not from defendant. Defendant, however, offers no
affidavit to support his position nor is there any evidence that Thode
believed that Woolsey provided the cocaine. Therefore, there is no
misrepresentation contained in the affidavit concerning the controlled
buy.

                                              -7-
  Case 6:13-cr-10156-EFM   Document 146      Filed 11/25/14   Page 8 of 13




by “nit-picking” discreet portions of the application.                 Rather, the
test is whether, under the totality of the circumstances presented in
the affidavit, the issuing judge had a “substantial basis” for
determining that probable cause existed.           Illinois v. Gates, 462 U.S.
213, 238-39 (1983); United States v. Harris, 369 F.3d 1157, 1165 (10th
Cir. 2004) (“In determining whether a search warrant was supported by
probable cause, we review "the sufficiency of the affidavit upon which
a warrant [wa]s issued by looking at the totality of the circumstances
and simply ensuring 'that the [issuing] magistrate had a substantial
basis for concluding that probable cause existed.'" (internal citation
omitted)).
     Probable cause exists when “the facts presented in the affidavit
would warrant a man of reasonable caution to believe that evidence of
a crime will be found at the place to be searched.”             Harris, 369 F.3d
at 1165 (quoting United States v. Hernandez-Rodriguez, 352 F.3d 1325,
1330 (10th Cir. 2003)).        The Tenth Circuit has adopted the general
rule that probable cause requires a “nexus between [the contraband to
be seized] or suspected criminal activity and the place to be
searched.”     United States v. Rowland, 145 F.3d 1194, 1203-04 (10th
Cir. 1998)(quoting United States v. Corral-Corral, 899 F.2d 927, 937
(10th Cir. 1990)).
     The     Supreme   Court     has    observed       that    “a    magistrate’s
‘determination of probable cause should be paid great deference by
reviewing courts.’” Gates, 462 U.S. at 236 (quoting Spinelli v. United
States, 393 U.S. 410, 419 (1969)). In doing so, reviewing courts must
apply the totality of the circumstances test:
             The task of the issuing magistrate judge is simply to

                                       -8-
  Case 6:13-cr-10156-EFM     Document 146     Filed 11/25/14   Page 9 of 13




           make a practical, common-sense decision whether, given
           all the circumstances set forth in the affidavit
           before him, including the veracity and basis of
           knowledge of persons supplying hearsay information,
           there is a fair probability that contraband or
           evidence of a crime will be found in a particular
           place. And the duty of a reviewing court is simply to
           ensure that the magistrate had a substantial basis
           for. . . conclud[ing] that probable cause existed.
Gates, 462 U.S. at 238-39 (internal citation omitted).
     Defendant argues that probable cause was lacking to support the
search warrant because no nexus existed to connect any illegally
activity to the residence searched.             Essentially, defendant argues
that there is no evidence there were drugs stored in the home.
Defendant reaches this conclusion by disregarding Woolsey’s and
Cirkel’s statements.        (Doc. 79 at 8).
     The Tenth Circuit requires that a “nexus [exist] between the
contraband to be seized or suspected criminal activity and the place
to be searched.” United States v. Gonzales, 399 F.3d 1225, 1228 (10th
Cir. 2005).    In this case, the affidavit establishes that defendant
is a high volume marijuana distributor.               Defendant receives large
shipments of marijuana every two weeks and sells the marijuana to
other dealers who in turn sell it to their customers. While defendant
may or may not store the large shipments of marijuana at the Oliver
residence, he takes payment for the marijuana at that residence.
Moreover, Freeman informed officers that defendant keeps his drug
records   in   the   hood    above   his    stove   at   the   Oliver    residence.
(Affidavit ¶ 110).      Additionally, two months prior to the search,
Woolsey bought cocaine from defendant at the Oliver residence.
     In One Hundred Forty-Nine Thousand Four Hundred Forty-Two and
43/100 Dollars ($149,442.43) in U.S. Currency, 965 F.2d 868 (10th Cir.

                                       -9-
 Case 6:13-cr-10156-EFM    Document 146    Filed 11/25/14   Page 10 of 13




1992), the Tenth Circuit held that probable cause existed to believe
that   the   defendant’s   residence      would   contain     records       of   drug
transactions based upon statements in the affidavit that drug dealers
kept records in their homes and evidence that the defendant was a
large drug dealer and had been for many years.               In this case, the
affidavit clearly contains several statements from individuals that
defendant is a heavy drug dealer. Moreover, based upon the statements
in the affidavit, defendant accepts payment and keeps records at his
Oliver residence.    Therefore, the court finds that the affidavit was
sufficient to establish that probable cause existed to search 3112 S.
Oliver.      See United States v. Biglow, 562 F.3d 1272 (10th Cir.
2009)(probable cause to search residence due to information that the
defendant was involved in a drug distribution ring even though there
was no evidence of drug transactions at the residence).
       3.    “No-knock” Execution
       Defendant asserts that the “no knock” search warrant violated his
Fourth Amendment rights because the affidavit failed to establish that
there was reason to believe that the officers would encounter danger
when executing the search warrant.            Defendant contends that the
evidence seized must be suppressed as a result of the violation.
       “Generally, law enforcement officers must announce their presence
and provide residents an opportunity to open the door before executing
a search warrant.”    United States v. Brown, 2006 WL 1997641, *2 (10th
Cir. July 18, 2006)(citing Hudson v. Michigan, 547 U.S. 586, 589
(2006)).     The remedy for a failure to knock and announce, however,
does not include suppression of the evidence seized.            Id.   Therefore,
the court does not need to evaluate the affidavit to determine if the

                                    -10-
 Case 6:13-cr-10156-EFM    Document 146       Filed 11/25/14   Page 11 of 13




officers had a legitimate basis to fear for their safety during the
execution of the search warrant.          Id. (“Given the Court's ruling in
Hudson, it is unnecessary for this court to determine whether, under
the circumstances presented in this case, law enforcement's fear of
evidence    destruction          justified       an      exemption       from      the
knock-and-announce rule.”)
      Defendant’s motion to suppress the evidence on this basis is
denied.
      4.   Scope of the Warrant
      Finally, defendant contends that the officers exceeded the scope
of the warrant by seizing the television monitors, VCR, camera,
security   cameras   and       defendant’s    Mercedes.        “Under   the      Fourth
Amendment, every warrant must particularly describ[e] the place to be
searched, and the persons or things to be seized.”                United States v.
Emmons, 24 F.3d 1210, 1216 (10th Cir. 1994). “The Fourth Amendment
requires warrants to describe particularly the things to be seized,
so that ‘nothing is left to the discretion of the officer executing
the warrant.’” United States v. Robertson, 21 F.3d 1030, 1033 (10th
Cir. 1994) (quoting Stanford v. Texas, 379 U.S. 476, 485 (1965)).
      “[T]he general rule, where executing officers exceed the scope
of a warrant, is that only the improperly seized evidence, not all of
the   evidence,   must    be    suppressed,     unless    there   was   a      flagrant
disregard for the terms of the warrant.”               United States v. Le, 173
F.3d 1258, 1269 (10th Cir. 1999).         However, when the violation may be
fairly described as “flagrant,” blanket suppression of all evidence
seized, whether lawfully or unlawfully, may be required.                         United
States v. Foster, 100 F.3d 846, 849 (10th Cir. 1996).

                                       -11-
 Case 6:13-cr-10156-EFM    Document 146     Filed 11/25/14   Page 12 of 13




     The   government     argues   that   the    items   were   lawfully     seized
pursuant to the search warrant which authorized the seizure of: “(e)
United States currency and financial instruments, including stocks,
bonds, and other securities, which may constitute proceeds of the
previously described offenses or property used to facilitate the
commission of these offense [sic].” (Search Warrant, attach. B). The
government asserts that the items were either used to facilitate in
the commission of the drug crimes or proceeds of the drug crimes.                In
order to reach that conclusion, however, the court would need to
speculate as to the officers’ reasons for seizing the items.
     Therefore, the court will take the motion under advisement and
hold a suppression hearing on this discrete issue prior to jury
selection.
     B.      Motion to Dismiss
     Defendant moves to dismiss count 4 of the superceding indictment
on the basis that the allegations fail to establish the charge.4 Fed.
R. Crim. P. 7(c) requires an indictment be merely a "plain, concise
and definite written statement of the essential facts constituting the
offense    charged."       An    indictment      is   held    only    to     minimal
constitutional standards, and the sufficiency of the indictment is
determined    "by   practical    rather   than    technical     considerations."
United States v. Dashney, 117 F.3d 1197, 1205 (10th Cir. 1997). "An
indictment is sufficient if it contains the elements of the offense
charged, putting the defendant on fair notice of the charge against


     4
       Defendant moves for dismissal of count 2 in his memorandum.
Defendant, however, quotes count 4 of the superceding indictment,
which was originally charged in count 2 of the original indictment.

                                     -12-
 Case 6:13-cr-10156-EFM      Document 146    Filed 11/25/14    Page 13 of 13




which he must defend and if it enables a defendant to assert an
acquittal or conviction in order to prevent being placed in jeopardy
twice for the same offense." United States v. Poole, 929 F.2d 1476,
1479 (10th Cir. 1991).
       Count 4 of the superceding indictment charges defendant with a
violation of 18 U.S.C. § 1512(b)(1). To establish the elements of the
charge, the government must prove beyond a reasonable doubt that
defendant (1) knowingly, (2) attempted to intimidate and/or threaten
Officer Thode (3) with the intent to influence his testimony (4) at
an official proceeding.         United States v. Stroup, No. 07-8085, 2008
WL 2914964 (10th Cir. July 30, 2008). Defendant argues that there was
no official proceeding and that defendant’s statements were not
sufficient to constitute an attempt to intimidate.                 (Doc. 78 at 3-4).
The court, however, does not consider the evidence at this stage of
the    proceedings.       The   allegations     charged       in   the   superceding
indictment set forth the elements of section 1512(b)(1).                  Therefore,
the indictment is sufficient.        Poole, 929 F.2d at 1479.
III. Conclusion
       Defendant’s motion to dismiss is denied. (Doc. 78). Defendant’s
motion to squash the search warrant and suppress the evidence is
denied in part and taken under advisement in part.                  (Doc. 79).
       A suppression hearing will be held on December 2, 2014 at 10:00
a.m.    The jury trial will commence on December 3, 2014 at 9:00 a.m.
       IT IS SO ORDERED.
       Dated this     24th      day of November 2014, at Wichita, Kansas.
                                                 s/ Monti Belot
                                            Monti L. Belot
                                            UNITED STATES DISTRICT JUDGE

                                      -13-
